         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 1 of 19




                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

   BERKELEY VENTURES II, LLC,

        Plaintiff,

   v.                                              Case No.: 1:19-CV-05523-SDG

   SIONIC MOBILE CORPORATION
   and RONALD D. HERMAN

        Defendants.                                JURY TRIAL DEMANDED


          JOINT PRELIMINARY REPORT AND DISCOVERY PLAN

   Pursuant to Federal Rule of Civil Procedure 26(f) and N.D.Ga. Local Rule 16.2,

Plaintiff Berkeley Ventures II, LLC (“Plaintiff” or “Berkeley”) and Defendant

Sionic Mobile Corporation (“Defendant” or “Sionic”) submit their Joint Preliminary

Report and Discovery Plan and show the Court as follows:

   1.         Description of Case:

        (a)     Describe briefly the nature of this action.

        Plaintiff: Plaintiff brings this action following Plaintiff’s investment of

$1,600,000.00 in Sionic Mobile in reliance on a number of materially false and

misleading misrepresentations by Defendants. As a result, Plaintiff has asserted

claims for (1) securities fraud, (2) common law fraud, and (3) punitive damages.
        Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 2 of 19

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      Defendant: Defendant timely filed its Verified Answer [Doc. 41], presenting

35 affirmative defenses and then specifically responding to each of Plaintiff’s

enumerated paragraphs in its Complaint [Doc. 1]. For the reasons more fully

described in part 1(b) of this Report, Plaintiff has not properly pled, and cannot

prove, the elements required for a viable Section 10(b) securities fraud claim and

Georgia common law fraud claim, including due to Plaintiff’s failure to satisfy the

exacting pleading requirements of Fed. R. Civ. P. 8 and 9(b) and the Private

Securities Litigation Reform Act of 1995, 15 U.S.C. § 78u-4 (the “PSLRA”).

      (b)     Summarize, in the space provided below, the facts of this case. The

summary should not be argumentative nor recite evidence.

      Plaintiff: Defendant is a Georgia limited liability company engaged in

providing mobile marketing and loyalty services to merchants and consumers. In

October 2017, Defendants presented Plaintiff’s CEO with an executive summary

and a company fact sheet as an encouragement to invest in Defendant. After

Plaintiff’s request for additional information, Defendants provided Plaintiff with an

updated proforma with detailed revenue and projections, draft contracts, schedule of

debt, subscription agreement, investor questionnaire, amended and restated

shareholder agreement, joinder to shareholder’s agreement, and wire instructions.

Relying on the materials and information available, Plaintiff signed investment

                                               2
        Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 3 of 19

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documents on December 5, 2017 and wired $1.6 million on December 7, 2017.

Thereafter, Plaintiff learned that a number of the statements and written materials

provided by Defendants were false and misleading. As a direct and proximate result,

Plaintiff has been damaged in an amount not less than $1.6 million.

      Defendant: Defendant filed a Motion to Dismiss [Doc. 10, 10-1 – 10-16, 11]

(“Motion to Dismiss”) and subsequent Motion to Reconsider Motion to Dismiss or,

in the Alternative, to Amend Order to Include Certification of Interlocutory Appeal

[Doc. 40, 40-1] (“Motion to Reconsider”). While the Court denied Defendant’s

Motion to Dismiss in its September 2, 2020 Order [Doc. 39], and Defendant’s

Motion to Reconsider in its December 11, 2020 Order [Doc. 65], Defendant

nonetheless believes that multiple grounds exist to dismiss and deny the Complaint

[Doc. 1] in its entirety, including under the applicable statute of limitations, bespeaks

caution safe harbor, and Plaintiff’s failure to state a viable cause of action for

securities fraud under Section 10(b) or Rule 10b-5, or under Georgia common law.

      Defendant denies that any of the statements upon which Plaintiff bases its

causes of action were false or misleading and, as set forth more completely in

Defendant’s Verified Answer [Doc. 40], further denies all allegations of wrongdoing

that Plaintiff has pled in its Complaint, including that it acted with scienter.

Defendant further denies Plaintiff’s allegation that it reasonably or justifiably relied

                                               3
        Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 4 of 19

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on any alleged misstatement or omission of Defendant, that Plaintiff has suffered an

economic loss or one that is causally related to any alleged misstatement by

Defendant, or that the purported truth concerning the status of Defendant’s business,

operations, revenues and contractual relationships was at any time concealed from

Plaintiff or subsequently disclosed to Plaintiff’s harm and detriment after the date

that Plaintiff entered into the Subscription Agreement.

      (c)     The legal issues to be tried are as follows:

      Plaintiff:

              (1)     Whether Defendants employed devices, schemes, artifacts, and

                      misrepresentations to defraud Plaintiff into investing $1.6

                      million into Sionic Mobile;

              (2)     Whether Defendants engaged in acts, practices and courses of

                      business which operated as a fraud or deceit upon Berkeley;

              (3)     Whether the misrepresentations and omissions by Defendants

                      were intentionally made with the knowledge that they were false

                      and misleading at the time they were made;

              (4)     Whether Defendants conduct shows willful misconduct, malice,

                      fraud, wantonness, oppression, or that entire want of care which



                                               4
        Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 5 of 19

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                      would raise the presumption of conscious indifferent to the

                      consequences;

      Defendant: Without waiving objection to Plaintiff’s statement of the legal

issues to be tried, and further subject to Defendant’s Motion to Dismiss and Motion

to Reconsider, and without waiving or compromising any of the arguments, grounds

and defenses presented in these Motions and Defendant’s Verified Answer,

Defendant identifies the following legal issues to be tried should the Court ultimately

deny dismissal in this case:

              (1)     Does any affirmative or other defense raised in Defendant’s

                      Verified Answer partially or completely bar Plaintiff’s claims in

                      this matter?

              (2)     Has Plaintiff alleged a viable cause of action against Defendant

                      under Section 10(b) of the Securities and Exchange Act of 1934

                      and Rule 10b-5, its enforcing regulation, 17 C.F.R. § 240.10b-5?

              (3)     Has Plaintiff alleged a viable cause of action against Defendant

                      for Georgia common law fraud under O.C.G.A. § 51-12-5.1?

              (4)     Did Defendant commit an actionable violation Section 10(b) and

                      Rule 10b-5? If yes, what is the appropriate measure of damages,

                      if any?

                                               5
      Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 6 of 19

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              (5)   Did Defendant commit an actionable violation of O.C.G.A. § 51-

                    12-5.1? If yes, what is the appropriate measure of damages, if

                    any, including punitive damages?

     (d)      The cases listed below (include both style and action number) are:

           (1) Pending Related Cases: Not applicable.

           (2) Previously Adjudicated Related Cases: Not applicable.

2.         This case is complex because it possesses one (1) or more of the

           features listed below (please check):

           _______ (1) Unusually large number of parties

           _______ (2) Unusually large number of claims or defenses

           _______ (3) Factual issues are exceptionally complex

           _______ (4) Greater than normal volume of evidence

              X___ (5) Extended discovery period is needed

           _______ (6) Problems locating or preserving evidence

           _______ (7) Pending parallel investigations or action by government

           ___X___ (8) Multiple use of experts

           _______ (9) Need for discovery outside United States boundaries

           _______ (10) Existence of highly technical issues and proof



                                             6
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 7 of 19

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           _______ (11) Unusually complex discovery of electronically stored

                           information.

   3.      Counsel:

   The following individually-named attorneys are hereby designated as lead

counsel for the parties.

        For Plaintiff:

        Jason B. Godwin, Esq.
        Ga Bar No. 142226
        jgodwin@godwinlawgroup.com
        GODWIN LAW GROUP
        3985 Steve Reynolds Boulevard
        Building D
        Norcross, Georgia 30093
        Tel: (770) 448-9925

        For Defendant:

      Simon Jenner
      Georgia Bar No. 142588
      simon.jenner@bakerjenner.com
      Baker Jenner LLLP
      210 Interstate North Parkway, SE, Suite 100
      Atlanta, GA 30339
      T: 404-400-5955
   4.    Jurisdiction:

   Is there any question regarding this court’s jurisdiction?

   ____ Yes              X No




                                               7
       Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 8 of 19

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 If “yes” please attach a statement, not to exceed one (1) page, explaining

 the jurisdictional objection. When there are multiple claims, identify and

 discuss separately the claim(s) on which the objection is based. Each

 objection should be supported by authority.

 5.         Parties to This Action:

      (a)      The following persons are necessary parties who have not been

               joined:

               Not applicable.

      (b)      The following persons are improperly joined as parties:

               Not applicable.

      (c)      The names of the following parties are either inaccurately stated

               or necessary portions of their names are omitted:

               Not applicable.

      (d)      The parties shall have a continuing duty to inform the court of

               any contentions regarding unnamed parties necessary to this

               action or any contentions regarding misjoinder of parties or

               errors in the statement of a party’s name.

 6.         Amendments to the Pleadings:



                                             8
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 9 of 19

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   Amended and supplemental pleadings must be filed in accordance with the

   time limitations and other provisions of Fed.R.Civ.P.15. Further

   instructions regarding amendments are contained in LR 15.

        (a)     List separately any amendments to the pleadings which the

                parties anticipate will be necessary:

                None anticipated by either party at this time. However, the parties

                reserve the right to seek amendments as necessary as revealed by

                discovery.

        (b)     Amendments to the pleadings submitted LATER THAN THIRTY

                (30) DAYS after the Joint Preliminary and Discovery Plan is filed,

                or should have been filed, will not be accepted for filing, unless

                otherwise permitted by law.

   7.         Filing Times for Motions:

    All motions should be filed as soon as possible. The local rules set specific

filing limits for some motions. These times are restated below.

    All other motions must be filed WITHIN FORTY-FIVE (45) DAYS after

the preliminary planning report is filed or should have been filed, unless the

filing party has obtained prior permission of the court to file later. Local Rule

7.1A(2).

                                               9
        Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 10 of 19

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        (a)      Motions to Compel: before the close of discovery or within the

                 extension period allowed in some instances. Local Rule 37.1.

        (b)      Summary Judgment Motions: within thirty (30) days after the close

                 of discovery, unless otherwise permitted by court order. Local

                 Rule 56.1.

        (c)      Other Limited Motions: Refer to Local Rules 7.2A, 7.2B and 7.2E,

                 respectively, regarding filing limitations for motions pending on

                 removal, emergency motions, and motions for reconsideration.

                 Defendants’ Motion for Reconsideration is currently pending.

        (d)      Motions Objecting to Expert Testimony: Daubert motions with

                 regard to expert testimony no later than the date that the proposed

                 pretrial order is submitted. Refer to Local Rule 7.2F.

   8.         Initial Disclosures

        The parties are required to serve initial disclosures in accordance with

Fed.R.Civ.P. 26. If any party objects that initial disclosures are not

appropriate, state the party and basis for the party’s objection. NOTE: Your

initial disclosures should include electronically stored information. Refer to

Fed.R.Civ.P. 26(a)(1)(B).



                                               10
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 11 of 19

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         The parties have agreed that initial disclosures shall be filed no later than 45

days of this Joint Preliminary Report.

   9.       Request for Scheduling Conference:

         Does any party request a scheduling conference with the Court? If so,

please state the issues which could be addressed and the position of each party.

         The parties do not request a conference with the Court at this time.

   10.      Discovery Period

         The discovery period commences thirty days after the appearance of the

first defendant by answer to the complaint. As stated in LR 26.1A, responses

to initiated discovery must be completed before expiration of the assigned

discovery period.

         Cases in this court are assigned to one of the following three discovery

tracks: (a) zero (0)-months discovery period, (b) four (4)-months discovery

period, and (c) eight (8)-months discovery period. A chart showing the

assignment of cases to a discovery tract by filing category is contained in

Appendix F. The track to which a particular case is assigned is also stamped

on the complaint and service copies of the complaint at the time of filing.

         Please state below the subjects on which discovery may be needed:



                                               11
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 12 of 19

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       The parties will conduct discovery regarding Plaintiff’s claims, including its

damages, and Defendants’ defenses.

   If the parties anticipate that additional time beyond that allowed by the

assigned discovery track will be needed to complete discovery, please state those

reasons in detail below:

       This case is on an eight-month discovery track. The parties, however,

anticipate that an additional four months will be needed to complete discovery in

this matter, including due to the complexity of some of the issues, claims and

defenses. In addition, the parties respectfully submit that additional time is

appropriate in view of the entry of Plaintiff’s new counsel on January 8, 2021

pursuant to the Court’s December 11, 2020 Order. Accordingly, the parties request

an extension of the discovery through and including December 31, 2021.

   11.       Discovery Limitation and Discovery of Electronically Stored

             Information:

       (a)      What changes should be made in the limitations on discovery

                imposed under the Federal Rules of Civil Procedure or Local Rules

                of this Court, and what other limitations should be imposed?

       The parties do not propose any changes to the usual limitations on discovery

at this time.

                                               12
       Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 13 of 19

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      (b)         Is any party seeking discovery of electronically stored information?

              X         Yes                  No

            If “yes,”

            (1)      The parties have discussed the sources and scope of the

                     production of electronically stored information and have agreed

                     to limit the scope of production (e.g., accessibility, search terms,

                     date limitations, or key witnesses) as follows:

      The Parties have met and conferred to discuss the discovery of electronically

stored information (“ESI”). The parties agree that there is a possibility that ESI will

be included within the scope of document production in this case and, to the extent

necessary, the parties will cooperate to avoid unnecessary expense in connection

with such discovery. If the parties cannot reach an agreement, they will jointly seek

guidance from the Court.

            (2)      The parties have discussed the format for the production of

                     electronically stored information (e.g., Tagged Image File

                     Format (TIFF or .TIF files), Portable Document Format (PDF),

                     or native), method of production (e.g., paper or disk), and the

                     inclusion or exclusion and use of metadata, and have agreed as

                     follow:

                                               13
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 14 of 19

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         The parties agree that electronically stored information will, to the extent

possible, be produced in Portable Document Format (PDF), although emails and

their attachments will be produced in native format, as will Excel Files. All

electronically produced documents, emails, and other information shall include and

preserve all associated metadata. The producing party will have the option of

producing its documents via disk or other portable electronic medium, or by secure

electronic transfer; for example, DropBox or a similar service. Following the

exchange documents, if the receiving or producing party deems the native file format

of one or more documents to be necessary (other than those documents specified for

production in native format in this paragraph), then the parties agree to work together

to arrange for the production of the native format. If necessary, the parties will

discuss changes to this paragraph after service of the relevant discovery requests.

   12.      Other Orders: What other orders do the parties think that the Court

            should enter under Rule 26(c) or under Rule 16(b) and (c)?

         The parties anticipate that discovery will involve the disclosure of information

that is confidential and/or non-public in nature. The parties will therefore submit a

non-sharing proposed protective order concerning the disclosure of such confidential

and/or non-public information.



                                               14
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 15 of 19

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         The parties hereby stipulate pursuant to Rule 26(c) that the parties shall have

45 days from filing the Joint Preliminary Report and Discovery plan to make the

initial disclosures.

   13.         Settlement Potential:

                     (a)    Lead counsel for the parties certify by their signatures

                            below that they conducted a Rule 26(f) conference that

                            was held on October 8, 2020, initially, between Plaintiff’s

                            prior counsel and Defendant’s counsel, and on January 21,

                            2021 between Plaintiff’s new counsel and Defendant’s

                            counsel, and     that    they     participated       in settlement

                            discussions. Other persons who participated in the

                            settlement discussions are listed according to party.

                     For Plaintiff: /s/ Jason B. Godwin

                     For Defendant: /s/ Simon Jenner

                        - Other participants for Defendant: Richard J. Baker

         (b)      All parties were promptly informed of all offers of settlement and

   following discussion by all counsel, it appears that there is now:

               (____) A possibility of settlement before discovery.

               (__x_) A possibility of settlement after discovery.

                                               15
         Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 16 of 19

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           (____) A possibility of settlement, but a conference with the judge is

                      needed.

           (____) No possibility of settlement.

   (c)     Counsel (_X_) do or (_____) do not intend to hold additional

   settlement conferences among themselves prior to the close of discovery.

   (d)     The following specific problems have created a hindrance to

   settlement of this case. None.

   14.     Trial by Magistrate Judge:

   (a)      The parties (_____) do consent to having this case tried before a

magistrate judge of this court. A completed Consent to Jurisdiction by a United

States Magistrate Judge form has been submitted to the clerk of court this _____ day

of ___________, 20___.

   (b)     The parties (_X_) do not consent to having this case tried before a

magistrate judge of this court.

   Respectfully submitted this _____ day of January, 2021.

         By: /s/ Jason B. Godwin
         Jason B . Godwin, Esq.
         Ga Bar No. 142226
         jgodwin@godwinlawgroup.com
         GODWIN LAW GROUP
         3985 Steve Reynolds Boulevard
         Building D

                                               16
     Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 17 of 19

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    Norcross, Georgia 30093
    Tel: (770) 448-9925

    /s/ Simon Jenner
    Simon Jenner
    Georgia Bar No. 142588
    Attorney for Defendant
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    E: simon.jenner@bakerjenner.com




                                             17
       Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 18 of 19

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      CERTIFICATE OF COMPLIANCE WITH L.R. 7.1, N.D. GA.

      The undersigned hereby certifies that this pleading was prepared using one

of the font and point selections approved by this Court in L.R. 5.1C, N.D. Ga.

Specifically, Times New Roman font in 14 point.


                                            By: /s/ Jason B. Godwin__________
                                            Jason B. Godwin
                                            Georgia Bar No. 142226




                                               18
        Case 1:19-cv-05523-SDG Document 68 Filed 01/22/21 Page 19 of 19

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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

   BERKELEY VENTURES II, LLC,

        Plaintiff,

   v.                                                    Case No.: 1:19-CV-05523-SDG

   SIONIC MOBILE CORPORATION
   and RONALD D. HERMAN

        Defendants.



                                 SCHEDULING ORDER

        Upon review of the information contained in the Joint Preliminary Report and

Discovery Plan form completed and filed by the parties, the Court orders that the

time limits for adding parties, amending the pleadings, filing motions, completing

discovery, and discussing settlement are as set out in the above completed form, the

Federal Rules of Civil Procedure and the Local Rules of this Court, except as herein

modified.

        IT IS SO ORDERED, this _________ day of _________________, 2021.


                                     ______________________________________
                                     HON. STEVEN D. GRIMBERG
                                     UNITED STATES DISTRICT JUDGE
                                               19
